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                                                                 ELECTRONICALLY FILED
UNITED STATES DISTRICT COURT                                     DOC#:
SOUTHERN DISTRICT OF NEW YORK                                    DATE FILED: 06/17/2022

 FRHUEB, INC.,

                                Plaintiff,
                                                                 21-CV-7395 (RA)
                         v.
                                                                      ORDER
 THIAGO SABINO DE FREITAS ABDALA
 and PRISCILA PATTO,

                                Defendants.

RONNIE ABRAMS, United States District Judge:

         The Court will hold a telephone conference on Monday, June 20, 2022 at 11:00 a.m. to

address the temporary injunctive relief Plaintiff requests. If Defendants intend to respond in

writing prior to the conference, they shall do so by June 20, 2022 at 10:00 a.m. The parties shall

use the following dial-in information to access the TRO conference: (888) 363-4749; Access Code:

1015508. This conference line is open to the public.

         The Court will address Plaintiff’s motion for a preliminary injunction and to enforce the

interim injunction on Friday, June 24, 2022 at 1:15 p.m. The hearing will be conducted via

Microsoft Teams videoconference. Any response to Plaintiff’s recent submission shall be filed by

June 22 at 12:00 p.m., and any reply shall be filed by June 23 at 12:00 p.m.

         The Court will provide the parties with the Microsoft Teams link prior to the preliminary

injunction conference. Members of the public may access the conference by using the following

dial-in information: (646) 453-4442; Access Code: 631 980 185.

SO ORDERED.
Dated:          June 17, 2022
                New York, New York
                                              __________________________________
                                               Ronnie Abrams
                                               U.S. District Judge
